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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SVENJA SCHMITT,

        Plaintiff,
                                                                Case No.: 1:23-cv-05108
v.
                                                                Judge John F. Kness
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,
                                                                Magistrate Judge Sheila M. Finnegan
        Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                   8                                      &moon&
                  65                                     HUANLE
                  84                                      meal-leaf
                  95                                     Ykohkofe
                 172                                   HMTECHUS
                 174                                  COTDINFORCA
                 177                                    MRSTERUS
                 178                                    QIVSTARS
                 179                                    LEECOCO
                 180                                    MEIKONST
                 181                                   ISADENSER
                 182                                      YOPINP
                 183                                      Asdsinfor
                 184                                   EMAXELER'
                  12                                    Coomiu.viv
                  32                                     NEGJ US
                  42                                      JGEMBL
                  57                                        sgikjia
                  72                                      LIAYAT
                  86                                       Realdo
                  74                                     FitOOTLY
                  16                                       laingdd
                 188                                    Candy house
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             36                                Yakunmao
             40                                  Liza Ai
             41                  SINHE & Stoota 7-20 Days to Shipping
             44                      Wocachi (7 ~ 14 days delivery)
             45                       PDFME(7-14 Days Delivery)
             47                       BEUU(Deliver in 7-14 Days)
             48                       DUEIG(7-18 Days Delivery)
             60                                Sandistore
             73                        7-20 days on shipping JINF
             75                                PHOTNO
            115                                  Buolo
            158                      Hugeoxy(7-18 Days Delivery)
              7                              Azuki-Fashion
              2                 💖hechetri 💖Mens Hawaiian Shirts&Shorts
             22                                TOWMUS
             29                               NOLDARES
             43                                Haedhmko
             54                                Osborniool
             56                                  Lkako
            153                   Gipsley💥Within 7-15 Days Delivery


DATED: December 4, 2023                     Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone:312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 4, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
